C.].»\ 20 .-\l‘l'()IN'i`Ml~lNT OF :\Nl) Alj"l`ll()RlTY TO PAY COURT .-\PP()[NTED COUNSEL

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3. MAG. m<'r.mi;r. NU.\-mER 4. otsT. nKT.mEF. NUMBER s. APPEALS uKT.mEF. NUMBER 6. muniz m<T. NUMBER
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U.S. v. Bufnrd Felony Adult Defendant Cnmmal Case

 

ll. OFFENSE(S) CHARGED {Ciit! U.S. Codi:, Tille & Sct‘.tiort) ll' more than one ut'|‘ense, list (up tn l`lve) mujor offenses charged. according to severity of ol'fense.

l) 18 922G.F -- UNLAWFUL TRANSPORT/POSSESS/RECEIVE FIREARMS THROUGH lNTERSTATE COMMERCE

 

 

 

 

12. A'['I`ORNEY'S NAME iFiFst Name. M.l., Llst Name. including any sul`lix} 13. COURT ORDER
AND MAIL[NG ADDRESS !E 0 Appointing Counsel m C Cu-Cuunsel ) _ `_
Durham Handel ij F squ rm- F¢dmt nimmer 13 g sum par Rmh,;d attorney
100 N Main [] P Subs For Pnnel At|umey [] Y Standhy Co\.in.rt|_e » ~ _
Sllilff$ 32 }’rior Altorney's Name:
MCmphiS TN 38103 Appointment Dnte: _ ‘;;h . `_‘}`,
[] Because the ahnve'named person represented has testified under oath grit§§` " "

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otherwise satisfied this court that he or sit anciaily unable to cumminan zimi,,:J d

  
       
 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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__- -- - - use name appears i ' \ inled tn represent this p¢r®i.ii‘_l this case, '
14. NAME AND MAlLING ADDRESS OF LAW FlRM[unly provide perinstructiorm} or f" " , aj
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Signat W ' residing Jt.ldi€i Ofl`lcer or By Ord.cr 0t` the Cnurt "
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Dote of Order Nunc i'ro Tunc Date
Repayrnent or partial repayment ordered l'mm the person represented l'or this service at
time of appointmentl [] YES l:,l NO
TOTAL MATH!l`ECH MATH}TECH
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CA'| EGOR!ES (Attach tlummitton of services with dales) AMOUNT ADJUSTED ADJUSTED
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15. a. Arraignment and/or Plea
b. Bail and Detention Hearings
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3 l'. Revocation Hearings
:_' g. Appeals Court
h. Other (Specii' y on additional sheets)
(Rate per hour = $ ) TOTALS:
16. a. Interviews and Conferenccs
O . . . .
ii b. Obtatnmg and reviewing records
0 c. Legal research and brief writing
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C d. Travel time
3 e. Investigative land Other work (sp¢elry nn additional sheets
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l (Rate per hour = $ ) TOTALS:
17. Travel Expenses (iodging, parking, meals, mileage, etc.)
18. Olher Expenses (other than expert, transcripts, etc.)
19, CERTIFICAT|ON OF ATTORNEY."PAYEE FOR THE PERIOD OF SERVlCE 20. APPO[NTMENT TERMINATION DATE 21. CASE DlSPOSITION
IF OTI{ER TI'IAN CASE COMPLETION
FROM TO
21. CLA[M STATUS m Final i’aymenl ij interim Poyment Number ______ l:l Sup|:l¢mental Paymenl

Have you previously applied to the court for compensation andt'nr remimbursement for this cas¢? ij YES \:l NO Il’ yu. were you paid'.' l:] YES l:l NO
Other than fmm the cour't, have ynu, nr to your knowledge has lnynne else, received payment lmmpensation or anything or vaiue) from any othersource in connection with this
representation'.’ l:] YES E NO if ys. give details on additional sheets.

I swear or affirm the truth or correctness of the above statements

 

Sigua\ure of Attnm¢y: Dau::

 
  
 

    
 

    

 

  

      
 

 

 

 

 

 

 

23. MURT COMP. 24. OUT OF COURT COMP. 25. TRAVEL EXPENSES 26. OTMXPENS 27. TOTAL AMT. AFPRI CEll'l`
28. SIGNA'I`URE OF THE PRESiDlNG JUDICIAL OFFICER DATE 182. ]UDGE IMAG. JUDGE CODE
29. IN COURT COMP. 3|]. OUT OF COURT COMI’. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 33. TOTAL AMT. APPROVED

34. SlGNA'I`URE OF CHIEF JUDGE, COURT OF APPEALS [OR DELEGATE) Payment DATE 34:1. JUDGE CODE

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UNITD S"S,ATE ISTRIC COURT - ESTERN DISITRCT OF TENNESSEE

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Honorablc Samuel Mays
US DISTRICT COURT

